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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 YIWU YUXIN E-COMMERCE FIRM,

                         Plaintiff,
                v.
                                                       Civil Action No. 1:23-cv-09264
 THE PARTNERSHIPS and
 UNINCOPORATED ASSOCIATIONS                             Honorable Mary M. Rowland
 IDENTIFIED ON SCHEDULE “A”

                         Defendants.


       NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(i)

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Yiwu Yuxin E-Commerce Firm

(“Plaintiff”), by and through its undersigned counsel, hereby voluntarily dismisses this action

WITHOUT PREJUDICE as to the following Temu Defendants:


 No.      Defendant Name                        Online Marketplaces/Store ID

 7        kunqi                                 36342235442

 8        ZH Best Jewelry A                     141762420223

 10       HS Fashion Jewelry D                  4881394347105

 16       fanglishipin                          16200117400


        Prior to the filing of this notice, Defendants have yet to file an answer or motion for

summary judgment.
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DATED: December 8, 2023                                  Respectfully submitted,

                                                         By: /s/ Stevenson Moore
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                                                         Counsel for Plaintiff



                               CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of December, 2023, Defendants were served with a
copy of the foregoing via email as per paragraph 6 of this Court’s Temporary Restraining Order
(Dkt. No. 13).

                                                         /s/ Stevenson Moore
                                                         Stevenson Moore
